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    Apr 27, 2023 — Hannah Ceh and Kyle Kruger wrote in their settlement that they apologized for
    participating in the October 2020 incident in which dozens of Trump supporters ...



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    San Marcos settles with plaintiffs in “Trump Train” lawsuit
    Oct 18, 2023 — Four people on a Biden campaign bus accused police of ignoring requests for
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    How a 'Trump train' attack on a Biden bus foreshadowed ...
    Oct 1, 2023 — Kamala Harris could have been on the bus Trump supporters threatened to run off
    the road in Texas, yet law enforcement barely responded.


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    'Trump train': City of San Marcos, supporters of Biden's ...
    Oct 18, 2023 — A lawsuit claimed San Marcos police failed to do their job when a group of
    former President Donald Trump's supporters surrounded a Biden ...


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    Texas “Trump Train” Case Headed to Trial After Court ...
    Aug 5, 2024 — A jury will now decide if Trump supporters who engaged in alleged intimidation
    and harassment of Biden-Harris supporters violated state and federal law.


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    Video shows 'Trump Train' swarm Biden-Harris campaign ...
    Jun 24, 2021 — New video from inside a Biden-Harris campaign bus shows the 2020 incident
    where Trump supporters surrounded the bus, and allegedly collided with one staffer's ...


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    Two Defendants in the Texas “Trump Train” Lawsuit Settle
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    The FBI is investigating an incident of alleged harassment by Trump supporters of a Biden
    campaign bus in Texas, the Texas Tribune reported, ...


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    'Trump Train' Members Who Intimidated Biden Campaign ...
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    'Trump Train' drivers that almost ran Biden bus off road sued
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